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                        UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

In Re:                                          )
                                                )       Case No. 21-30589
LTL MANAGEMENT LLC                              )       Chapter 11
                                                )
                        Debtor.                 )



               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

         PLEASE TAKE NOTICE THAT the pursuant to Fed. R. Bankr. P. 2002(g), 9007 and 9010,
the undersigned appears in this matter on behalf of the Blue Cross Blue Shield Association (“BCBSA”)
and requests that all notices given or required to be given and all papers served or required to be
served in this case (whether by special or limited service or otherwise) be given to and served on the
undersigned at the address set forth below:
                                        James H. Henderson
                                  The Henderson Law Firm, PLLC
                                  2030 South Tryon Street, Suite 3H
                                         Charlotte NC 28203
                                   E-mail: henderson@title11.com

         PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Service shall not be deemed or construed to be a waiver of the rights of BCBSA (1) to

have final orders in non-core matters entered only after de novo review by a District Judge, (2)

to trial by jury in any proceeding so triable in this case or any case, controversy, or proceeding

related to this case, (3) to have the District Court withdraw the reference in any matter subject to

mandatory or discretionary withdrawal, or (4) to assert any other rights, claims, actions,

setoffs, or recoupment to which BCBSA is or may be entitled, in law or in equity, all of

which rights, claims, actions, defenses, setoffs, and recoupment it expressly reserves.

         This Notice of Appearance and Request for Service of Papers does not give express or

implied consent by the undersigned or The Henderson Law Firm, PLLC to accept service of process
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of any action commenced under Rule 7001 of the Federal Rules of Bankruptcy Procedure.

       Dated: October 18, 2021.


                       THE HENDERSON LAW FIRM

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